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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

                                    Case Number: 19-CV-5366


ROOR INTERNATIONAL BV and
SREAM, INC.


                      Plaintiffs,

v.

VAPE 101, INC. d/b/a SMOKE & VAPE and
ESSAM MISHO

                  Defendants.
____________________________________/


                                       STATUS REPORT

       This status report is being submitted by Plaintiffs only, at this time, Defendants have not

been served.

1.   The Nature of the Case

       A       Identify the attorneys of record for each party, including the lead trial attorney.

               For the Plaintiff                             For the Defendants

               Christopher V. Langone                        No counsel of Record Yet
               17 N. Wabash, Ste. 500
               Chicago, IL 60602
               (312) 344-1945
               langonelaw@gmail.com
               (lead trial counsel – member of trial bar)

       B.      State the basis for federal jurisdiction.




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             Federal Question Jurisdiction exists under 28 U.S.C. 1331 as the claims arise

             under federal law: the Lanham Act, 15 U.S.C. 1051 and unfair competition, 15

             U.S.C. 1121.

       C.    Describe the nature of the claims asserted in the complaint and any
             Counterclaims.

             Trademark infringement and counterfeiting under 15 U.S.C 1114 (Count I) and 15
             U.S.C. 1116(d) (Count II), false designation of origin, 15 U.S.C. 1125(a) (Count
             III).

       D.    Describe the relief sought by the plaintiff(s).

             Statutory damages; injunction; accounting; reasonable attorney’s fees and costs.

       E.    Names of Parties Not Yet Served

             Smoke & Vape, Inc. (Business) and Essam Misho (Individual). Service is pending
             with the process server.

2.   Discovery and Pending Motions

       A.    Identify All Pending Motions

             There are no pending motions at this time.

       B.    Is the Case in the Mandatory Initial Discovery Pilot Program?

             The Case is not in the Mandatory Initial Discovery Pilot Program.

       C.    Current Discovery Schedule

             No Discovery Schedule Presently Set.

       D.    All Fact and Expert Discovery Conducted by the Parties

             No discovery has been performed at this time.

       E.    Summarize All Substantive Rulings Issued

             No substantive rulings at this time.

       F.    Any Anticipated Motions



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               None at this time.

3.     Trial

       A.      Have any of the parties demanded a jury trial?

               No party has demanded a jury trial.

       B.       What is the trial date (if any)? If there is no trial date, when will the parties be
               ready for trial?

               There is no trial date. The Plaintiffs are awaiting an appearance from the
               Defendants to begin scheduling discussions.

       C.      Have the parties filed a final pretrial order? If so, when? If not, when is the
               deadline for the filing?

               The Parties have not filed a pretrial order. There is currently no deadline.

       D.      Estimate the length of trial.

               The Plaintiffs estimate 2 days of trial.

4.     Settlement, Referrals and Consent

       A.      Indicate whether any settlement discussions have occurred;

               Not as of now, but Plaintiff will initiate such discussions after Defendant appears.

       B.      Has this case been referred to the Magistrate Judge for discovery supervision
               and/or a settlement conference?

               This case has not been referred to the Magistrate Judge for discovery supervision.

       C.      Whether the parties request a settlement conference.

               Plaintiff will wait until Defendant is served to ascertain Defendant’s position on
               this.

       D.      Have counsel informed their respective clients about the possibility of proceeding
               before the assigned Magistrate Judge?

               Plaintiffs’ counsel has informed the Plaintiffs of the possibility of proceeding
               before the assigned Magistrate Judge. Defendants have not yet appeared so there
               in no unanimous consent to proceed before the Magistrate Judge.




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5.     Other

       A.      Is there anything else that the plaintiff(s) wants the Court to know?

               Not at this time.

       B.      Is there anything else that the defendant(s) wants the Court to know?

               Defendants have not made an appearance at this time.

                                                             Respectfully Submitted,
                                                             /s/ Christopher V. Langone
                                                             Christopher V. Langone
                                                             17 N. Wabash, Ste. 500
                                                             Chicago, IL 60601
                                                             (312) 344-1945




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